                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                                DOCKET NO. 5:13CR53-17


UNITED STATES OF AMERICA                            )
                                                    )
               vs.                                  )             ORDER
                                                    )
FRANKIE WAYNE BLEVINS                  )
______________________________________ )


       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of this

Court, hereby grants the Government’s Motion To Dismiss, (Doc. #333) the above-captioned

Bill of Indictment as to Defendant, FRANKIE WAYNE BLEVINS, without prejudice.

Moreover, the Defendant filed a Motion To Withdraw Plea of Guilty (Doc.#332), in this matter,

which the Court will GRANT.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshall Service, and the United States Attorney's Office.



 Signed: November 25, 2014




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